          Case 5:23-cv-04357-NW         Document 130-1        Filed 06/23/25   Page 1 of 6




 1   Nitoj P. Singh (SBN 265005)
     nsingh@dhillonlaw.com
 2   Anthony J. Fusaro, Jr. (SBN 345017)
     afusaro@dhillonlaw.com
 3   DHILLON LAW GROUP INC.
 4   177 Post Street, Suite 700
     San Francisco, CA 94108
 5   Tel. 415.433.1700
 6   Attorneys for Plaintiff
 7   National Specialty Pharmacy, LLC

 8                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 9
     NATIONAL SPECIALTY PHARMACY,             )
10   LLC                                      )       Case No. 5:23-cv-04357-NW
11                                            )
                          Plaintiff,          )       DECLARATION OF NITOJ P.
12                                            )       SINGH IN SUPPORT OF
            vs.                               )       PLAINTIFF’S OPPOSITION TO
13                                            )       DEFENDANT SAMEER
     SAMEER PADHYE, an individual,            )       PADHYE’S MOTION PURSUANT
14   BENJAMIN D. BROWN, an                    )       TO 28 U.S.C. § 1927 FOR
15   individual, and DOES 1 to 49,            )       SANCTIONS
     inclusive,                               )
16                        Defendants.         )
17                                            )

18
19
20
21
22
23
24
25
26
27
28



                                                  1
           Case 5:23-cv-04357-NW            Document 130-1         Filed 06/23/25      Page 2 of 6




 1           I, Nitoj P. Singh, declare as follows:

 2           1.      I am an attorney licensed to practice in the State of California, a partner at Dhillon

 3   Law Group Inc., and counsel of record for Plaintiff National Specialty Pharmacy LLC (“NSP”)

 4   in this action. I have personal knowledge of the facts stated herein and could and would

 5   competently testify to the same if called as a witness.

 6           2.      I make this declaration in support of NSP’s opposition to Defendant Sameer
     Padhye’s motion for sanctions under Rule 11 and 28 U.S.C. § 1927.
 7
             3.      The allegations in the Second Amended Complaint (“SAC”) were based on a
 8
     reasonable pre-filing investigation, which included review of documentary evidence,
 9
     communications with NSP’s representatives and third parties, and careful legal analysis. At no
10
     point did NSP or its counsel act in bad faith or for an improper purpose.
11
             Pre-Filing Investigation and Changes to SAC
12
             4.      Prior to filing the SAC, I instructed NSP’s corporate representative, Sanjiv
13
     Dhawan, to provide me with all documents and information in NSP’s possession that supported
14
     the claims asserted in the First Amended Complaint (“FAC”).
15
             5.      After reviewing that material, I made the decision to remove several defendants
16
     named in the FAC, including Maybelline Sana, Rayne Bridges, Abhinay Padhye, Coligomed,
17
     Inc., and Enlil, Inc.
18
             6.      I also revised the trade secret allegations to ensure compliance with federal
19
     pleading standards, including by articulating with specificity the categories of confidential and
20
     proprietary information that NSP asserted as protectable trade secrets.
21
             7.      In addition, I determined that certain causes of action—specifically for conversion,
22
     conspiracy to convert, and trade libel—did not have a sufficient factual or legal basis to proceed
23
     and therefore removed them from the SAC.
24
             Trade Secret Identification and Misappropriation Claims
25
             8.      Based on NSP’s internal documents and information provided by Dhawan, I
26
     concluded that NSP possessed numerous categories of legally protectable trade secrets, including
27
     but not limited to:
28


                                                       2
           Case 5:23-cv-04357-NW          Document 130-1        Filed 06/23/25        Page 3 of 6




 1                  a. NSP’s proprietary database of complex patient and provider
 2                     information, which contained sortable data on diagnosis, prescription
 3                     history, referring providers, and engagement with the White Card
 4                     program;
 5                  b. NSP’s customer research and marketing systems maintained in its
 6                     Monday.com CRM platform;
 7                  c. Partner contact information and strategic relationships; and
 8                  d. Pricing strategies, and marketing methods.
 9          9.      Dhawan informed me that after his resignation from NSP, Defendant Padhye made
10   himself the administrator of NSP’s CRM system containing this confidential information.
11          10.     Dhawan also provided me with emails that Padhye had forwarded to his personal
12   account from his NSP email address on June 21, 2023—the day before his relationship with NSP
13   ended. These emails attached confidential documents and trade secrets of NSP.
14          11.     I also spoke with former-Defendant Daniel Brown, who told me that Defendant
15   Padhye had solicited him to create marketing materials for Taycann Wellness—a competing
16   entity—while Brown was still employed by NSP. Brown stated that he understood Taycann
17   intended to operate in the White Card prescription market, which was NSP’s core business. Upon
18   learning this, Brown said he terminated his relationship with Taycann to avoid violating the non-
19   compete clause in his employment agreement with NSP.
20          12.     Based on this information, I concluded that NSP had a viable claim against
21   Defendant Padhye for trade secret misappropriation.
22          Fraud-Based Claims

23          13.     Prior to including a claim for intentional misrepresentation in the SAC, I spoke

24   with Dhawan regarding Padhye’s hiring. Dhawan informed me that Padhye had misrepresented

25   his experience in the pharmaceutical industry.

26          14.     Dhawan showed me an email exchange in which he had stated to Padhye that he

27   understood Padhye had “biopharma” experience but not pharmaceutical experience. Padhye did

28   not refute this statement. Dhawan later learned that Padhye had no experience in either sector.


                                                      3
           Case 5:23-cv-04357-NW            Document 130-1       Filed 06/23/25      Page 4 of 6




 1           15.     Based on this evidence, I concluded that there was a good-faith basis for asserting
 2   an intentional misrepresentation claim.
 3           16.     At the time the SAC was filed, NSP’s claims for fraudulent concealment and
 4   promissory fraud were also based on the information and documents described above. These
 5   showed that Defendant Padhye had secretly planned to launch a competing company—Taycann
 6   Wellness—while still employed by NSP and had recruited NSP personnel, including Brown,
 7   Sana, and Bridges, to assist in this effort.
 8           17.     I concluded that these allegations supported claims for fraudulent concealment and
 9   promissory fraud because Padhye concealed material facts about his competing business plans
10   while falsely committing to grow NSP’s operations.
11           Contract and Interference Claims
12           18.     NSP’s breach of contract claim against Padhye was based on his violation of his
13   confidentiality and non-compete agreements contained in his employment agreement with NSP
14   and supported by the documents and conduct outlined above. Based on this, I determined that
15   NSP had a viable cause of action for breach of contract.
16           19.     Similarly, I concluded that Padhye’s recruitment of Brown, Bridges, and Sana to
17   join Taycann while they were affiliated with NSP gave rise to a plausible claim for tortious
18   interference.
19           Post-Filing Conduct and Discovery
20           20.     Since filing the SAC, NSP has taken measured and proportionate litigation steps.
21   NSP has taken only one deposition, has not filed any motions, and has conducted limited written
22   discovery. NSP has not engaged in any conduct that would multiply the proceedings.

23           21.     To the contrary, the discovery that has been conducted has confirmed and

24   strengthened the central theory of NSP’s claims.

25           22.     On June 21, 2023, the day before Defendant Padhye’s departure from NSP, he sent

26   himself numerous emails attaching NSP’s confidential information and trade secrets. True and

27   correct copies of these emails are attached as Exhibit A. These emails include the following trade

28   secrets and confidential information owned by NSP:


                                                      4
           Case 5:23-cv-04357-NW             Document 130-1       Filed 06/23/25   Page 5 of 6




 1                  a. Sales data;
 2                  b. Marketing materials;
 3                  c. Communications with prospective vendors;
 4                  d. Financial information;
 5                  e. Patient claims;
 6                  f. Prescription and provider data;
 7                  g. White Card prescription program information;
 8                  h. Pharmacy data; and
 9                  i. Information on pharmacy partnerships NSP was pursuing.
10          23.     True and correct copies of relevant excerpts of Defendant Padhye’s deposition
11   transcript are attached as Exhibit B.
12          24.     True and correct copies of relevant excerpts of the deposition of Sanjiv Dhawan
13   (NSP’s 30(b)(6) representative) are attached as Exhibit C.
14          25.     True and correct copies of relevant excerpts of the deposition of Daniel Brown are
15   attached as Exhibit D.
16          26.     True and correct copies of text messages between Maybelline Sana and Rayne
17   Bridges—two former-NSP employees that Defendant Padhye enticed to leave NSP and join his
18   competing venture, Taycann Wellness—are attached here as Exhibit E. These text messages were
19   produced by Bridges during discovery in NSP’s litigation against her and co-Defendant
20   Maybelline Sana in the U.S. District Court for the District of Nevada (Case No. 2:25-CV-00295-
21   CDS-MDC).
22          27.     True and correct copies of a group text message conversation between Defendant

23   Padhye, Maybelline Sana, and Rayne Bridges are attached here as Exhibit F. These text messages

24   were also produced by Bridges during discovery in NSP’s litigation against her and co-Defendant

25   Maybelline Sana in the U.S. District Court for the District of Nevada (Case No. 2:25-CV-00295-

26   CDS-MDC).

27          28.     True and correct copy of emails that Defendant Padhye sent to pharmacies that he

28   was looking to partner with or purchase are attached as Exhibit G.


                                                    5
               Case 5:23-cv-04357-NW         Document 130-1         Filed 06/23/25      Page 6 of 6




 1             29.    Defendant Padhye did not serve a copy of his sanctions motion on NSP prior to
 2   filing.
 3             30.    At no point has NSP or its counsel admitted that it did not have the requisite
 4   evidence to support its claims, or ignored evidence that directly contradicted them.
 5             31.    A true and correct copy of the Articles of Organization for Taycan, LLC in
 6   California is attached as Exhibit H.
 7             32.    NSP has retained a compounding pharmacy expert to confirm that the
 8   reimbursement issue for White Card prescriptions was short-lived and recoverable, and returned
 9   to prior levels by March 2024.
10             I declare under penalty of perjury under the laws of the United States that the foregoing is
11   true and correct.
12
13     Dated: June 23, 2025                         /s/ Nitoj P. Singh
                                                    Nitoj P. Singh
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                        6
